 

 

Case 3:17-cV-03162-D Document 7 Filed 12/21/17 Page 1 of 1 Page|D 39

UN|TED STATES DlSTR|CT COURT

 

FOR THE
NORTHERN DlSTR|CT DF TEXAS

ROBERT WESTBERR¥, et al. m

Plaintiff

V- Civil Action No. 3:17-cv-03162-D
GUSTECH COMMUN|CAT|ONS LLC., ET Al_.
GUSTAVO SANTAMAR|A,

Defendants.

/

DEFENDANT GUSTECH COMMUN|CAT|ONS LLC, MOTION TO EXFAND TlME TO FlLE ANSWERS
COMES NOW, Gustech Communications LLC., FlLES this “DEFENDANT MOTlCN TO EXFAND TlME TD
F|LE ANSWERS"_and states as follows:

1. That Defendant has received and has been served this law suit on November 30th 2017

2. That Defendant owner is out of town and is looking to contract legal counsel to defend this law
suit.

3. That Defendant files this motion within the time allowed of 21 days and has sent this motion to
the court intake to file motion with a post date of December 20th 2017 via U.S Post office
overnight delivery.

4. That defendant will file all Answers very soon by Defendant’s attorney.

WHEREAS Defendant Gustech Communications LLC, Prays that this Honorable court expands the time
needed to allow Defendant to seek and hire an Attorney to Defend this Case.

CERT|F|CATE 0F SERV|CE

l HEREBY CERT|FY that a true and correct copy of the foregoing has been furnished via U.S. Nlail
TO: DREW N. HERRMANN AT 777 MAlN STREET, SU|TE 600, FORT WORTH TEXAS 76102 AND
V|A EMAIL: DREW@HERRMANNLAW.COM , on this 20"`I DAY OF DECEMBER, 2017.

Respectfu u l ed, ,
-r WM/
Mike lvarez, FGR GUSTAVO SANTAMAR|A and

For Gustech Communications LLC.
1974 Carolina Place Dr. Suite 112
Fort Mi|l, SC 29708

